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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

RACHEL DEPALMA,                            )
                                           )
                                           )
                    Plaintiff,             )
                                           )
             v.                            )   CIVIL ACTION NO. 5:22-cv-91 (MTT)
                                           )
SAMANTHA KERNS, et al.,                    )
                                           )
                                           )
                Defendants.                )
 __________________                        )


                                        ORDER

      The Court has ordered Plaintiff Rachel DePalma, Defendant Samantha Kerns,

and Defendant Laurinda Kirk to show cause at hearings set for October 6, 2022, why

they should not be sanctioned for litigation misconduct. Docs. 20; 21; 22. Once those

hearings conclude, the depositions of DePalma, Kerns, and Kirk SHALL be conducted

at the courthouse. The parties are further directed to review Standing Order 2022-03,

available on the court’s website, regarding courthouse entrance procedures due to

COVID-19. Failure to comply with this order may result in sanctions and a finding of

contempt.

      SO ORDERED, this 21st day of September, 2022.

                                               S/ Marc T. Treadwell
                                               MARC T. TREADWELL, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
